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IN THE UNITED sTATEs DISTRICT coURT
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FREDERICK MASSEY,
Plaintiff,
vs. No. 05-2476-Ma/V

CORRECTIONAL MEDICAL SERVICES,
et al.,

Defendants.

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ORDER CORRECTING THE DOCKET
ORDER TO COMPLY WITH PLRA
OR
PAY FULL $250 CIVIL FILING FEE

 

Plaintiff Frederick Massey, booking number 05106330, an
inmate at the Shelby County Criminal Justice Complex (“Jail”)1 in
Memphis, filed a prg se complaint pursuant to 42 U.S.C. § 1983 on July
5, 2005.2

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § 1915(a)-(b), all prisoners bringing a civil action must pay
the full filing fee of $250 required by 28 U.S.C. § l914(a).3 The

statute merely provides the prisoner the opportunity' to make a

 

1 The word “prison" is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

2 Although there is some ambiguity on the face of the plaintiff's
complaint, the website for the Shelby' County' Sheriff's Jail Information Page
indicates that the plaintiff is currently an inmate at the Jail. Accordingly, the
Clerk is ORDERED to correct the docket to reflect the plaintiff's current address.

3 Effective March 7, 2005, the civil filing fee was increased from $150.

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with Ruie 88 and/or 78(3) FRCP on"'l&§

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“downpayment” of a partial filing fee and pay the remainder in
installments. §§p McGore v. Wricglesworth, 114 F.3d 601, 604 (6th Cir.
1997) (“[w]hen an inmate seeks pauper status, the only issue is whether
the inmate pays the entire fee at the initiation of the proceeding or
over a period of time under an installment plan. Prisoners are no
longer entitled to a waiver of fees and costs.”).

In order to take advantage of the installment procedures, a
prisoner plaintiff must properly complete and submit to the district
court, along with the complaint, either Form 4 of the Appendix of Forms
found in the Federal Rules of Appellate Procedure, or an affidavit that
contains the same detailed information found in Form 4. Mp§p;p, 114
F.3d at 605. The prisoner must also submit a certified prison trust
fund account statement, showing all activity in his account for the six
months preceding the filing of the complaint, and specifically showing:

1) the average monthly deposits, and
2) the average monthly balance

for the six months prior to submission of the complaint, and
3) the account balance when the complaint was submitted.

In this case, the ip §p;pg pauperis affidavit submitted by
the plaintiff is not filled out and the portion calling for a
certification by the trust fund officer is unsigned. Although the
plaintiff has submitted a trust fund account statement, it is
uncertified. Therefore, at the present time, plaintiff is not eligible
to take advantage of the installment payment procedures of § 1915(b).
Plaintiff is, however, liable for the full $250 filing fee, which
accrued at the moment the complaint was filed. Accordingly, plaintiff

is hereby ORDERED to submit an ip forma pauperis affidavit and a

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certified copy of his trust fund account statement or the full $250
civil filing fee to the following address within thirty (30) days after

the entry of this order:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

If plaintiff needs additional time to file the required
documents, he may request one thirty-day extension of time from this
Court. McGore, 114 F.3d at 605. If plaintiff fails to file the required
documentation, the Court will assess the entire filing fee, without
regard to the installment payment procedures, and will dismiss the
action, pursuant to Fed. R. Civ. P. 41(b), for failure to prosecute.
McGore, 114 F.3d at 605. If dismissed under these circumstances, the
case will not be reinstated despite the subsequent payment of the full
filing fee and regardless of any request for pauper status.

If plaintiff timely submits the proper documentation, and the
Court finds that plaintiff is indeed indigent, then. he may take
advantage of the installment procedures of § 1915(b). In such case,
plaintiff will be able to make an initial partial payment equal to 20%
of the greater of the average monthly deposits to his trust account for
the past six months or the average monthly balance in his account for
the past six months. After collection of the initial partial filing
fee, the remaining balance will be collected in monthly installments
equal to 20% of the income credited to the plaintiff's account during
the preceding months. These monthly payments, however, will be

withdrawn only when plaintiff's account balance exceeds $10.

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The Clerk is ORDERED to provide the plaintiff a copy of the

prisoner i_p forma pauperis affidavit form along with this order.

IT IS SO ORDERED this m M" day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02476 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

 

Fredrick Massey
2621 N. Watkins

#2

Memphis7 TN 38127

Honorable Samuel Mays
US DISTRICT COURT

